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    1   Mark S. Lee (SBN 94103)
        mark.lee@rimonlaw.com
    2   RIMON, P.C.
        2029 Century Park East, Suite 400N
    3   Los Angeles, California 90067
        Telephone: 213.375.3811
    4   Facsimile: 213.375.3811
    5   Zheng Liu (SBN 229311)
        zheng.liu@rimonlaw.com
    6   RIMON, P.C.
        800 Oak Grove Avenue, Suite 250
    7   Menlo Park, California 94025
        Telephone: 650.461.4433
    8   Facsimile: 650.461.4433
    9   Attorneys for Defendants
        INTERFOCUS, INC. d.b.a.
   10   www.patpat.com
   11                        UNITED STATES DISTRICT COURT
   12                      CENTRAL DISTRICT OF CALIFORNIA
   13
        NEMAN BROTHERS & ASSOC.,                Case No.: 2:20-cv-11181-CAS-JPR
   14 INC., a California Corporation,
                                                STATEMENT OF
   15               Plaintiff,                  UNCONTROVERTED FACTS AND
                                                CONCLUSIONS OF LAW IN
   16         v.                                SUPPORT OF DEFENDANT T
                                                INTERFOCUS, INC. D.B.A.
   17 INTERFOCUS, INC. d.b.a.                   WWW.PATPAT.COM’S MOTION
        www.patpat.com, a Delaware              FOR SUMMARY JUDGMENT
   18 Corporation; CAN WANG, and
        individual, and DOES 1-10, inclusive,   Date: December 6, 2021
   19                                           Time: 10:00 am
                    Defendants.                 Courtroom: 8D
   20
                                                Honorable Christine A. Snyder
   21
        INTERFOCUS, INC. d.b.a.
   22 www.patpat.com, a Delaware
        Corporation; CAN WANG, and
   23 individual, and DOES 1-10, inclusive,

   24               Counterclaim Plaintiffs,
              v.
   25
        NEMAN BROTHERS & ASSOC.,
   26 INC., a California Corporation,

   27               Counterclaim Defendant.
   28
                                           -1-
           INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
                 OF LAW IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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    1        Defendant InterFocus, Inc. d.b.a. www.patpat.com (“InterForucs”) Plaintiff
    2 Nirvana, L.L.C. (“Nirvana”) presents the following Statement of Uncontroverted

    3 Facts and Conclusions of Law in Support of its Motion for Summary Judgment on

    4 Plaintiff’s First Amended Complaint herein pursuant to Local Rule 56-1 as follows:

    5                 STATEMENT OF UNCONTROVERTED FACTS
    6
                   Undisputed Fact                                Evidence
    7
        1. Plaintiff Neman Brothers, Inc.           November 1, 2021 Declaration of Mark
    8      [“Neman Brothers”] filed what’s          S. Lee [“Nov. 1 Lee Decl.”] Ex. 1,
    9
           called a group registration of           Declaration of Yoel Neman [“Neman
           unpublished works about every            Decl.”] 26:26-24.
   10      month.
   11
        2. Some of the works in each of the         Nov. 1, 2021 Lee Decl. Ex. 1, Yoel
           three copyright registrations on         Neman Deposition (“Neman Depo.”).
   12      which Plaintiff bases its copyright      26:16-24 and Exs. 17, 27, and 33’
   13      infringement claims were authored
           by third party designs studios from
   14      whom Neman Brothers purchased
   15      rights, who are not named as authors
           or claimants in the registrations.
   16   3. Two of the three designs at issue in     Nov. 1 Lee Decl. Ex. 1, Neman Depo.
   17      this case were themselves not            66:12-68:1, 70:11-71:5.
           authored by Neman Brothers, but
   18      instead by two different European
   19      design studios, contrary to the claims
           made in the registrations.
   20   4. Neman Brothers knew those facts        Nov. 1 Lee Decl. Ex. 1, Neman Depo.
   21      when he signed and certified the       60:22, 87:21-24,88:1-9, 88:14-19,
           accuracy of the three registrations.   89:24-90:9, 97:17-98:2, 114:12-23,
   22                                             115:3-14, 116:24-117:4, 117:24-118:5,
   23                                             118:12-119:4, 129:3-129:19, 133:22-
                                                  134:12, and Exs. 10, 17, 18, 27, 28 and
   24                                             33 thereto.
   25   5. The three copyright registrations that Nov. 1, 2021 Lee Decl. Ex. 1, Exs. 17,
           are at issue in this action do not     27, and 33.
   26      include “the name and nationality or
   27      domicile of the author or authors” for
           the third-party created works
   28
                                           -1-
           INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS
                 OF LAW IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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    1
                    Undisputed Fact                                  Evidence
    2
        6. The three copyright registrations that    Nov. 1, 2021 Lee Decl. Ex. 1, Exs. 17,
    3      are at issue in this action do not        27, and 33.
    4
           include a statement that the subgroup
           of included works its employees
    5      created were “works made for hire”
    6
        7. The three copyright registrations that    Nov. 1, 2021 Lee Decl. Ex. 1, Exs. 17,
           are at issue in this action a brief       27, and 33.
    7      statement of how the claimant
    8      obtained ownership of the copyright
        8. Although many of the works in each        Nov. 1 Lee Decl. Ex. 1, Neman Depo.
    9      of the three registration at issue were   89:2-7, 118:12-119:4, and 132:4-
   10      later versions of previously              133:73, Exs. 17, 27, and 33.
           copyrighted works, and were
   11      therefore derivative in nature (Nov. 1
   12      Lee Decl. Ex. 1, Neman Depo. 89:2-
           7, 118:12-119:4, and 132:4-133:73).
   13   9. The registrations include neither “an     Nov. 1, 2021 Lee Decl. Ex. 1, Exs. 17,
   14      identification of any preexisting         27, and 33.
           work or works that it is based on or
   15      incorporates” a previous work, nor
   16      “a brief, general statement of the
           additional material covered by the
   17      copyright claim being registered.”
   18
                                     CONCLUSIONS OF LAW
   19
              1.     Congress authorized the Copyright Office to dictate the requirements
   20
        for “a single registration for a group of related works” in the Copyright Act of 1976.
   21
        17 U.S.C. § 408(c)(1). Congress also required that certain group registrations
   22
        include only works by “the same individual author.” 17 U.S.C. § 408(c)(2).
   23
              2.     Consistent with this Congressional mandate, the Copyright Office since
   24
        1978 has required that group registrations of unpublished works be limited to
   25
        collections of works by the same author or including the same joint author. Calling
   26
        its original regulation for such registrations as applying to “unpublished collections”
   27
        of works, it required that “[a]ll of the elements [identified in the unpublished
   28
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         INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
                 LAW IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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    1 collection registration] are by the same author [or same joint author]” to qualify for

    2 such group registration. 43 FR 965, 966 (Jan. 5, 1978), https://tile.loc.gov/storage-

    3 services/service/ll/fedreg/fr043/fr043003/fr043003.pdf. That language was included

    4 in every regulation covering group registrations of unpublished works until the most

    5 recent regulatory amendments of 2019. See former 37 CFR 202.3(b)(4)(B)(4)

    6 (2010), https://www.govinfo.gov/content/pkg/CFR-2010-title37-vol1/pdf/CFR-

    7 2010-title37-vol1-sec202-3.pdf; Notice of Proposed Rulemaking for Group

    8 Registration of Unpublished Works, 82 FR No. 196, p. 47415, 47416 (October 12,

    9 2017), https://www.govinfo.gov/content/pkg/FR-2017-10-12/pdf/2017-21722.pdf.).

   10        3.     The 2019 amendments to the relevant regulation even more clearly
   11 require that “[a]ll works [identified in the group registration of unpublished works]

   12 must be created by the same author or joint authors, and the author and claimant

   13 information for each work must be the same.” 37 C.F.R. § 202.4(c)(5),

   14 https://www.law.cornell.edu/cfr/text/37/202.4. (Emphasis added) That same

   15 amended regulation states that “[t]he applicant must identify the authorship that

   16 each author or joint author contributed to the works, and the authorship statement

   17 for each author or joint author must be the same.” 37 C.F.R. § 202.4(c)(7)(2019),

   18 https://www.law.cornell.edu/cfr/text/37/202.4.; see also, Copyright Office Circular

   19 34 p. 5, https://www.copyright.gov/circs/circ34.pdf (to qualify for group

   20 registration of unpublished works, “[a]ll of the authors must be named as copyright

   21 claimants… [and the registration] must identify the authorship that each author or

   22 joint author contributed to the works…”) (Emphasis added.)

   23        4.      To qualify as a valid group registration of unpublished works, all of
   24 the authors and co-authors of all of the works in the registration must be the same,

   25 all of the authors also must be the copyright claimants identified in the registrations,

   26 and the contribution of each author or joint author be identified for all of the works

   27 in the group registration under the authorities cited above.

   28        5.     These group registrations provide significant cost savings and other
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        INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
                LAW IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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    1 advantages to copyright owners but impose additional burdens on the Copyright

    2 Office in evaluating them, so “compliance with the applicable regulations should be

    3 strictly enforced.” Palmer/Kane LLC v. Rosen Book Works LLC, 204 F. Supp. 3d

    4 565, 571 (S.D.N.Y. 2016); see also, 82 FR No. 196, p. 47415, 47416 (October 12,

    5 2017) (describing the advantages to copyright claimants but the potentially onerous

    6 burdens on the Copyright Office imposed by group registrations of unpublished

    7 works.)

    8        6.     Neman Brothers’ registrations, nowhere acknowledge they include
    9 many works authored by undisclosed third-parties different from and not including

   10 Neman Brothers, and nowhere identify those third parties as claimants, violate these

   11 requirements. They constitute a combination of works from different authors, many

   12 of whom are not identified, that is ineligible for group registration of unpublished

   13 works under the Copyright Office regulations by which Neman Brothers filed them.

   14        7.     Neman Brother’s registrations also contain numerous other factual
   15 errors and omissions that should invalidate them under the general registration

   16 requirements of 17 U.S.C. § 409. The three registrations do not include “the name

   17 and nationality or domicile of the author or authors” for the third-party created

   18 works as required by 17 U.S.C. § 409(2). They do not include a statement that the

   19 subgroup of included works its employees created were “works made for hire” in

   20 violation of by 17 U.S.C. § 409(4). For the undisclosed third-party works included

   21 in each registration, the registrations do not include “a brief statement of how the

   22 claimant obtained ownership of the copyright” as required by by17 U.S.C. § 409(5).

   23 Finally, although Mr. Neman admitted that many of the works in each registration

   24 were later versions of previously copyrighted works, and were therefore derivative

   25 in nature, the registrations include neither “an identification of any preexisting work

   26 or works that it is based on or incorporates” a previous work, nor “a brief, general

   27 statement of the additional material covered by the copyright claim being

   28 registered” as mandated by 17 U.S.C. § 409(9).
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       INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
                  LAW IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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    1        8.       The above errors support invalidation of the three copyright
    2 registrations at issue as a matter of law. Gold Value International Textile, Inc. v.

    3 Sanctuary Clothing, LLC, 925 F.3d 1140 (9th Cir. 2019) (affirming summary

    4 judgment for defendant on copyright infringement claim because the group

    5 registration at issue knowingly combined published and unpublished fabric designs

    6 in violation of Copyright Office’s regulations for registration of unpublished

    7 collections.)

    8        9.       However, this Court will not rule on this issue in the first instance.
    9 Instead, the Ninth Circuit has instructed that “once a defendant alleges that (1) a

   10 plaintiff’s certificate of registration contains inaccurate information; (2) ‘the

   11 inaccurate information was included in the application for copyright registration’;

   12 and (3) the inaccurate information was included on the application ‘with knowledge

   13 that it was inaccurate,’” this Court should instead submit a request to the Register of

   14 Copyrights pursuant to 17 U.S.C. § 411(b) “to advise the court whether the

   15 inaccurate information, if known, would have caused [it] to refuse registration.”

   16 Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 959 F.3d 1194, 1197 (9th Cir.

   17 2020).

   18        10.      As invalidation of Neman Brothers’ copyright registrations would be
   19 fatal to its copyright infringement claims, this Court will make such a request to the

   20 Copyright Office now, and stay this action until the Copyright Office responds. If

   21 the Copyright Office advises that the inaccurate information Neman Brothers

   22 provided would have caused it to refuse the registrations, this Court will invalidate

   23 all three of them and grant summary judgment to InterFocus on Neman Brothers’

   24 copyright infringement claims herein. Gold Value International Textile, Inc. v.

   25 Sanctuary Clothing, LLC, 925 F.3d at 1146-47 (granting summary judgment for

   26 defendant based on a Copyright Office determination that it would have denied the

   27 group registration of unpublished fabric designs at issue.)

   28
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        INTERFOCUS’ STATEMENT OF UNCONTROVERTED FACTS AND CONCLUSIONS OF
                LAW IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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    1

    2 .DATED: November 4, 2021          RIMON, P.C.

    3

    4                                   By: /s/ Mark S. Lee
    5
                                            Mark S. Lee (SBN: 94103)
                                            mark.lee@rimonlaw.com
    6
                                            RIMON P.C.
                                            2029 Century Park East, Suite 400N
    7
                                            Los Angeles, CA 90067
                                            Telephone/Facsimile: 310.375.3811
    8                                      Zheng Liu (SBN 229311)
    9
                                           zheng.liu@rimonlaw.com
                                           RIMON, P.C.
   10
                                           800 Oak Grove Avenue, Suite 250
                                           Menlo Park, California 94025
   11
                                           Telephone/Facsimile: 650.461.4433

   12
                                           Attorneys for Defendants
                                           INTERFOCUS, INC. d.b.a.
   13                                      www.patpat.com

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